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                    Exhibit 7
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Infratech - Productions Тепловизионные прицелы                                                                       8/23/17, 12)11 AM




                                                       Enter the word




             Productions


                     Прицелы ночного видения
                     ИК осветители
                     Приборы ночного видения
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                     Крепления
                     Тепловизионные прицелы
                     Тепловизионные насадки

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  Home
                          3 captures
                  16 Jul 2015 - 6 Aug 2016
 Тепловизионные прицелы

 Thermal Imaging product
 Тепловизионные прицелы
                                       InfraTech IT-1TWS-615A        649
                                       384x288, 60 Hz, 17 µm, 3,3x   000
                                    Матрица
                                    Тип сенсора        неохлаждаемая
                                                       микроболометрическая
                                                       матрица (FPA)
                                    Частота , Гц       50-60
                                    Разрешение         384х288
                                    Размер пикселя 17
                                    , мкм
                                    Спектральный       8÷14
                                    диапазон , мкм
                                    Чувствительность <50
                                    , мК
                                    Принцип            без затвора
                                    калибровки
                                    Оптика
                                    Объектив           50 мм, F/1,18
                                    Минимальная        5
 Фотогалерея                        дистанция
 To view three-dimensional image of фокусировки , м
 the goods must be installed Adobe  Оптическое         2,8
 Reader X                           увеличение  , крат
                                    Цифровое           х2, х4
 More info                          увеличение


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Infratech - Productions Тепловизионные прицелы                                                            8/23/17, 12)11 AM



 To Order                                        Угол поля зрения 7,5Х5,6
 Dear Clients!                                   , град
 To purchase, please fill out the form           Шаг выверки        1,7
 below.                                          , см/100м
     *Name:                                      Диоптрийная        -5...+2
   *Address:                                     настройка
 *Telephone:                                     Удаление           55
                                                 выходного зрачка
    *E-mail:                                     , мм
   Numbers:                                      Электроника
    Coments:                                     Тип дисплея        AMOLED (цветной)
                                                 Разрешение         800х600
                                                 дисплея
                                                 Видеовыход         PAL/NTSC
   Send                  Cancel                  Питание , В        3÷6
                                                 Источник           2х RCR123A
                                                 питания
                                                 Эксплуатационные параметры
                                                 Диапазон           -40...+60
                                                 температур , °С
                                                 Относительная 98
                                                 влажность , %
                                                 Ударная нагрузка 800
                                                 ,g
                                                 Степень защиты IP67
                                                 Габаритные         235х65х63
                                                 размеры , мм
                                                 Вес , кг           0,65
                                                    InfraTech IT-1TWS-315AH       965
                                                    640x480, 30 Hz, 17 µm, 1,7x   700
                                                 Матрица
                                                 Тип сенсора        неохлаждаемая
                                                                    микроболометрическая
                                                                    матрица (FPA)
                                                 Частота , Гц       25-30
                                                 Разрешение         640х480
                                                 Размер пикселя 17
                                                 , мкм
                                                 Спектральный       8÷14
                                                 диапазон , мкм
                                                 Чувствительность <50
                                                 , мК
                                                 Принцип            без затвора
                                                 калибровки
                                                 Оптика
                                                 Объектив           50 мм, F/1,18
                                                 Минимальная        5
                                                 дистанция
 Фотогалерея
                                                 фокусировки , м
 To view three-dimensional image of

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Infratech - Productions Тепловизионные прицелы                                                            8/23/17, 12)11 AM



 the goods must be installed Adobe     Оптическое         1,7
 Reader X                              увеличение , крат
                                       Цифровое           х2, х4, х8
 More info                             увеличение
 To Order                              Угол поля зрения 12,6х9,4
 Dear Clients!                         , град
 To purchase, please fill out the form Шаг выверки        2,8
 below.                                , см/100м
      *Name:                           Диоптрийная        -5...+2
   *Address:                           настройка
 *Telephone:                           Удаление           55
     *E-mail:                          выходного  зрачка
                                       , мм
   Numbers:                            Электроника
    Coments:                           Тип дисплея        AMOLED (цветной)
                                       Разрешение         800х600
                                       дисплея
                                       Видеовыход         PAL/NTSC
  Send             Cancel              Питание , В        3÷6
                                       Источник           2х RCR123A
                                       питания
                                       Эксплуатационные параметры
                                       Диапазон           -40...+60            News
                                       температур , °С                         02.10.2014
                                       Относительная 98
                                                                               Международная выставка «ARMS &
                                       влажность , %
                                                                               Hunting 2014»
                                       Ударная нагрузка 800
                                       ,g
                                       Степень защиты IP67
                                                                               Приглашаем Вас посетить наш стенд
                                       Габаритные         235х65х63
                                                                               F52 на Международной выставке
                                       размеры , мм
                                                                               «ARMS & Hunting 2014», которая
                                       Вес , кг           0,65                 будет проходить с 09 по 12 октября в
                                          InfraTech IT-1TWS-610A        699    выставочном комплексе Гостиный
                                          384x288, 60 Hz, 17 µm, 6,6x   000    двор г. Москва.
                                       Матрица
                                                                               01.07.2014
                                       Тип сенсора        неохлаждаемая
                                                          микроболометрическая
                                                          матрица (FPA)
                                       Частота , Гц       50-60
                                       Разрешение         384х288
                                       Размер пикселя 17                       01.02.2013
                                       , мкм
                                       Спектральный       8÷14                 Thermal sught
                                       диапазон , мкм
                                       Чувствительность <50
                                       , мК
                                       Принцип            без затвора          01.02.2013
                                       калибровки
                                       Оптика                                  The new site

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Infratech - Productions Тепловизионные прицелы                                                            8/23/17, 12)11 AM



                                       Объектив          100 мм, F/1,35
                                       Минимальная       10
                                       дистанция
                                       фокусировки , м
                                       Оптическое        5,5Х
                                       увеличение , крат
                                       Цифровое          х2, х4
                                       увеличение
                                       Угол поля зрения 3,8 Х 2,8
 Фотогалерея                           , град
 To view three-dimensional image of Шаг выверки          0,85
 the goods must be installed Adobe     , см/100м
 Reader X                              Диоптрийная       -5...+2
                                       настройка
 More info                             Удаление          55
 To Order
                                       выходного зрачка
 Dear Clients!
                                       , мм
 To purchase, please fill out the form
                                       Электроника
 below.
                                       Тип дисплея       AMOLED (цветной)
      *Name:
                                       Разрешение        800х600
    *Address:                          дисплея
 *Telephone:                           Видеовыход        PAL/NTSC
     *E-mail:                          Питание , В       3÷6
    Numbers:                           Источник          2х RCR123A
                                       питания
    Coments:                           Эксплуатационные параметры
                                       Диапазон          -40...+60
                                       температур , °С
   Send            Cancel
                                       Относительная 98
                                       влажность , %
                                       Ударная нагрузка 800
                                       ,g
                                       Степень защиты IP67
                                       Габаритные        281x88x82
                                       размеры , мм
                                       Вес , кг          0,8




                                                    InfraTech IT-1TWS-310AH       1 015
                                                    640x480, 30 Hz, 17 µm, 3,3x   700
                                                 Матрица
                                                 Тип сенсора        неохлаждаемая
                                                                    микроболометрическая
                                                                    матрица (FPA)
                                                 Частота , Гц       25-30
                                                 Разрешение         640х480
                                                 Размер пикселя 17
                                                 , мкм


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Infratech - Productions Тепловизионные прицелы                                                            8/23/17, 12)11 AM



                                       Спектральный      8÷14
                                       диапазон , мкм
                                       Чувствительность <50
                                       , мК
                                       Принцип           без затвора
                                       калибровки
                                       Оптика
                                       Объектив          100 мм, F/1,35
                                       Минимальная       10
                                       дистанция
 Фотогалерея                           фокусировки , м
 To view three-dimensional image of Оптическое           3,3
 the goods must be installed Adobe     увеличение , крат
 Reader X                              Цифровое          х2, х4, х8
                                       увеличение
 More info                             Угол поля зрения 6,2х4,6
 To Order                              , град
 Dear Clients!
                                       Шаг выверки       1,4
 To purchase, please fill out the form , см/100м
 below.
                                       Диоптрийная       -5...+2
      *Name:                           настройка
    *Address:                          Удаление          55
 *Telephone:                           выходного зрачка
     *E-mail:                          , мм
                                       Электроника
    Numbers:
                                       Тип дисплея       AMOLED (цветной)
    Coments:                           Разрешение        800х600
                                       дисплея
                                       Видеовыход        PAL/NTSC
                                       Питание , В       3÷6
   Send            Cancel
                                       Источник          2х RCR123A
                                       питания
                                       Эксплуатационные параметры
                                       Диапазон          -40...+60
                                       температур , °С
                                       Относительная 98
                                       влажность , %
                                       Ударная нагрузка 800
                                       ,g
                                       Степень защиты IP67
                                       Габаритные        281x88x82
                                       размеры , мм
                                       Вес , кг          0,8


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Infratech - Productions Тепловизионные прицелы                                                            8/23/17, 12)11 AM




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